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                           Subject to Protective Order


                         EXPERT WITNESS REPORT
   La Union del Pueblo Entero v. Abbott, No. 5:21-cv-844 (W.D. Tex.) (lead case)


                                  Submitted by
                              Mark Hoekstra, PhD
                                 Date of Report
                                  April 5, 2023
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I.      Introduction

        1.      I have been engaged to respond to the second supplemental report dated March 6

2023, that was written by Professor Kenneth R. Mayer in the consolidated case La Union del Pueblo

Entero v. Abbott, No. 5:21-cv-844 (W.D. Tex.). My analysis is based on my knowledge and experience

as an active research economist who is well versed in the frontier empirical methods used in causal

analyses.



II.     Qualifications and Compensation

        2.      I am the Rex B. Grey Professor of Economics at Texas A&M University in College

Station, Texas, where I have been on the faculty since 2011. Prior to arriving at Texas A&M, I was an

assistant professor of economics at the University of Pittsburgh. I received my PhD in Economics

from the University of Florida in 2006. I have published more than 20 papers in peer-reviewed journals

in economics, including the American Economic Association’s (AEA) top journal of American Economic

Review as well as the top AEA journals relevant to my field (American Economic Journal: Applied Economics

and American Economic Journal: Economic Policy) and top field journals (Journal of Labor Economics; Journal

of Public Economics; Journal of Human Resources). These studies have used a wide variety of administrative

datasets, including data on voting. I serve as a reviewer for approximately 20 paper submissions per

year, including for top economics journals. I serve as an Associate Editor at the Journal of Labor

Economics (since 2018) and at the Journal of Human Resources (since 2015), which are the top two field

journals in labor economics.

        3.      The common theme throughout both my research and my teaching is careful attention

to the assumptions underlying various research designs used to assess the causal impact of policies.

Some of my research is used as examples in the textbook Causal Inference: The Mixtape by Scott

Cunningham, which is a leading graduate-level book on empirical methods used in economics. I teach



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a PhD-level field course in labor economics, the focus of which is on understanding and assessing the

various research methodologies used by economists and other social scientists. These include the

methods used to test for racial and gender bias in different settings. I also teach part of the core 1st-year

PhD sequence in econometrics, in which I focus on how to assess causality in non-experimental

contexts. I am perhaps best known among the PhD students as someone who offers advice on

research projects, including whether the proposed method is sufficient to answer the question at hand.

I recently won department-level awards for both the quality of graduate teaching and the quality of

feedback given to students. During my time at Texas A&M, I have chaired more than 10 dissertation

committees, and many of my students have gone on to careers at R-1 research universities. I have

served on the committees of countless more PhD students.

         4.     I also hold an appointment as a Research Fellow at the National Bureau of Economic

Research based in Cambridge, Massachusetts, and as a Research Fellow at the Institute for Labor

Economics (IZA) based in Bonn, Germany. In 2012 I received the IZA Young Labor Economist

Award.

         5.     I am being compensated for my time at the rate of $600/hour. I have not previously

testified as an expert witness.



III.     Assessment of Professor Mayer’s March 6 supplemental report – Overview

         6.     Did the new mail-in voting requirements of SB 1 cause a sufficiently large burden on

Texas voters to actually reduce voting?           And if so, to what extent did any such burden

disproportionately impact minority voters? Professor Mayer’s March 6 report asserts that in the

November 2022 general election in Dallas, Harris, and Hidalgo counties, 2,949 voters, out of a total

of 1,881,445 voters, were “disenfranchised” as a result of the new mail-in voting rules implemented

by SB 1. Professor Mayer also asserted that the “disproportionate impact that these provisions have



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on African American and Hispanic voters is material and statistically significant.” Finally, Professor

Mayer asserted that the new mail-in voting rules do not contribute to election security or the integrity

of the voting process.

        7.      If true, these assertions would certainly be troubling. However, I show below that

these assertions are at best unfounded, and at worst false. In particular, they are based on incorrect

analysis and incorrect interpretation.

        8.      I show the following:

A.      Professor Mayer repeatedly misinterprets ballots not counted due to the identification
        requirements as “disenfranchised voters”. In fact, an alternative interpretation equally
        consistent with the facts is that these 2,949 votes in question were illegitimate. There is
        nothing in Professor Mayer’s report, or in the underlying data, to indicate whether or not those
        rejected mail-in votes were cast legally. As a result, even if these votes went uncounted because
        SB 1 reduced illegitimate votes – which was the stated goal of the legislation – Professor Mayer
        would misinterpret that as evidence of disenfranchisement.

B.      Professor Mayer’s assertion that mail-in ballot rejections increased as a consequence of SB 1
        is based on pre-SB 1 rejection data that appear to be incorrect. In my report, I highlight several
        ex ante reasons to doubt the quality of the pre-SB 1 rejection data, relative to the post-SB 1
        rejection data.

        Moreover, these concerns are borne out in the data. I demonstrate using Professor Mayer’s
        data that mail-in ballot rejection rates for reasons other than SB 1 more than doubled from before
        SB 1 to after SB 1. These rejections cannot, by definition, be caused by SB 1. This suggests
        that poor record-keeping of rejections prior to SB 1, or some other factor, is driving some or
        all of the increase in rejection rates observed. This casts serious doubt on the credibility of
        pre- versus post-SB 1 rejection rate comparisons.

C.      In asserting that SB 1 does not contribute to election security, Professor Mayer repeatedly,
        and improperly, assumes that absence of evidence is evidence of absence. Much if not all of
        what Professor Mayer emphasizes is the number of election fraud cases that are prosecuted,
        which is small relative to total votes cast. However, I show that even for types of criminal
        misconduct such as property crime, fewer than 7 percent of incidents are prosecuted. It would
        be wrong to assume those other incidents never happened. That low prosecution rate is
        striking, given that property crimes are almost certainly detected by the victim, the victim is
        typically incentivized to report it, and there is often evidence to support a prosecution. By
        comparison, election fraud is much less likely to be detected and thus reported by either the
        victim or election personnel, and is likely more difficult to prove. Given that, would we not
        expect the prosecution rate of election fraud to be a small fraction of that of property crime?
        As a result, the prudent view is that it is difficult or even impossible for anyone to know how
        often mail-in ballot fraud occurs.



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          In addition, Professor Mayer ignores the indisputable public perception that election fraud is
          widespread. As a result, even if one believes there is zero election fraud, one can also believe
          there are benefits associated with enacting safeguards such as SB 1 to help convince the
          electorate of the same.

D.        Professor Mayer’s disparate impact analysis is characterized by three critical flaws.

     i.   Professor Mayer computes disparate impact incorrectly. While Professor Mayer accounts for
          differential rates of ballot rejections among voters who chose to vote absentee, he does not
          account for differences across groups in the likelihood of voting absentee. This is incorrect;
          I show doing so results in nonsensical conclusions. Professor Mayer’s incorrect approach for
          estimating disparate impact is also inconsistent with a (correct) statement Professor Mayer
          made in his own report about how to evaluate disparate impact. Similarly, it is also inconsistent
          with a (correct) statement about how to evaluate disparate impact made by another expert for
          the plaintiff, Professor Eric McDaniel.

              a. While I presume this was an honest mistake by Professor Mayer, the practical
                 implications are important. I show correcting this mistake in Harris County indicates
                 that SB 1’s rules generate disparate impact against voters predicted to be White, in favor
                 of voters predicted to be Hispanic. This is the exact opposite of what Professor
                 Mayer’s incorrect analysis suggested. Similarly, while Professor Mayer’s findings assert
                 evidence of disparate impact against predicted-Asians in favor of those predicted to
                 be White, the correct analysis shows there is no difference between the two groups.
                 Additionally, while I do not have access to the necessary data for Dallas County to
                 correct his analysis, it is clear the problem is sufficient as to cast serious doubt on, if
                 not entirely discredit, the results in Professor Mayer’s report.

 ii.      Professor Mayer’s disparate impact analyses do not use data on the actual race and ethnicity
          of voters. Rather, it is inferred using data on surname and residential neighborhood.

              a. Unsurprisingly, the creators of the prediction algorithm document that the predictions
                 come with significant error. This has important implications for any analysis across
                 racial or ethnic groups. Yet Professor Mayer’s analysis seemingly ignores these errors.
                 For example, Professor Mayer’s analysis predicts there are 187,416 votes cast by Black
                 voters. In contrast, I demonstrate that if we take into account the classification error
                 documented by the scholars who developed the method used by Professor Mayer,
                 there were actually an estimated 342,076 Black voters. Given the sheer number of
                 misclassified Black voters in the analysis, it should come as no surprise that a wide
                 range of estimates of racial differences are possible, depending on the assumptions
                 made.

              b. Indeed, I show that if one accounts for the classification errors, estimates of the
                 rejection rates of actual Black voters in Harris County range from 0 (and thus
                 substantially lower than Whites), to rates that are substantially higher than Whites. Put
                 differently, Professor Mayer’s interpretation depends crucially on assumptions he
                 implicitly made, but did not acknowledge, about the impact of the classification error
                 on the analysis. As a result, a more prudent interpretation is that because classification



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                error is so large, it is hard to say anything with a high degree of certainty about
                differences in voting across actual racial and ethnic groups.

 iii.   Professor Mayer does not acknowledge the importance of voter substitution across voting
        methods. Yet this is a critical feature to assessing any potential burden imposed by SB 1’s
        safeguards on mail-in voting. Even the strictest restriction on mail-in voting will not burden
        voters if they consider another method of voting as a perfect substitute. In fact, the best
        empirical evidence on this question indicates that Texan voters view in-person voting as a
        close-if-not-perfect substitute for mail-in voting. In short, it shows that restrictions that are
        much stronger than those imposed by SB 1 only change how Texans vote, not whether they vote.

        Yet Professor Mayer’s report only references this possibility once, in a footnote about a small
        set of voters. Beyond that, it is unclear whether Professor Mayer considered the likelihood
        that legitimate voters whose mail-in ballots were rejected would vote in person. It is also
        unclear if he is including voters who subsequently cured their mail-in ballot or voted in person
        after a rejection in his final number of 2,949 ballots rejected due to SB 1. Regardless, another
        expert for the plaintiff, Professor Eitan Hersh, indicated in his February 3, 2023 report that
        across all of Texas, there were only 6,355 votes, out of 8.1 million cast in the 2022 general
        election, that were rejected due to SB 1’s requirements and where a vote by the same individual
        was not subsequently cast and counted. And there is nothing in Professor Hersh’s report, or
        Professor Mayer’s report, to suggest that these votes were cast legitimately rather than
        illegitimately. There is also nothing to suggest that these votes were not rejected due to voter
        error in completing the ballot, which means even this small number may decline as voters
        become more familiar with the new process.

E.      To what extent were drive-thru voters from the 2020 election in Calhoun County unwilling,
        or unable, to vote in subsequent elections, when drive-thru voting was no longer permissible?
        Professor Mayer would have you believe that “the elimination of drive-thru voting made it
        more difficult for Hispanic voters, in particular, to cast a vote in the 2022 general election”.

        The fact is, however, that there is no evidence that the individuals who voted in 2020 using
        drive-thru voting were negatively impacted at all by the elimination of drive-thru voting.
        Instead, I show that those voters participated in the 2022 primary and general elections at
        higher rates than did other Calhoun County residents who also voted early in the 2020 election.
        This is true both in the aggregate, and for voters predicted to be White, Non-White (i.e., all
        other groups combined), and Hispanic. For example, while 29.8 percent of drive-thru voters
        predicted to be Hispanic voted in the 2022 primary, only 18.8 percent of predicted-Hispanic
        non-drive-thru-early-voters did so. Similarly, 62.3 percent of predicted-Hispanic 2020 drive-
        thru voters subsequently voted in the 2022 general election, compared to only 47.9 percent of
        their non-drive-thru-voting predicted-Hispanic counterparts.

        As a result, it is incorrect for Professor Mayer to imply that predicted-Hispanic drive-thru
        voters were disparately impacted. Rather, it is clear they were more willing and able than their
        non-drive-thru-voting counterparts to subsequently cast votes in 2022.

        In addition, I show that the statistical test employed by Professor Mayer is flawed. I show that
        if the same test is applied to non-drive-thru early voters from 2020, that test would also



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        conclude evidence of disparate impact. That is clearly untenable, since those voters did not
        even use the drive-thru voting option in 2020.

        Moreover, both of these criticisms leave aside the issue that as referenced earlier, Professor
        Mayer does not observe the race or ethnicity of voters. Rather, he only observes a prediction
        of race and ethnicity, which comes with a considerable amount of error. Accounting for the
        uncertainty in classifying ethnicity casts further doubt on the credibility of these findings.


IV.     Professor Mayer’s (Mis)Interpretation of Mail-In Ballot Rejections, the Effect of SB 1
        on Mail-In Ballot Rejections, and the Benefits of SB 1 to Election Security

        A. Professor Mayer’s (Mis)Interpretation of Mail-In Ballot Rejections

        9.      Professor Mayer’s analysis of mail-in voting examines Dallas, Harris, and Hidalgo

counties. Table 1 replicates these results. It shows that out of the 1.9 million votes cast and counted

in those three counties in the 2022 general election, there were 2,949 mail-in ballots rejected (0.16

percent of total ballots) for reasons relating to SB 1’s identification requirements.

        10.     Professor Mayer chooses to interpret these ballot rejections as evidence that SB 1

“disenfranchised” legitimate voters. The trouble is that there is nothing in Professor Mayer’s report,

or in the underlying data, to indicate whether these 2,949 votes were legally cast, rather than

illegitimately cast. Neither Professor Mayer, nor I, can distinguish between these two interpretations

of the facts that Professor Mayer presents.

        11.     This is particularly concerning given that the stated purpose of SB 1 was to reduce the

likelihood of fraudulent votes being cast and counted. Under Professor Mayer’s chosen interpretation,

any fraudulent votes rejected under SB 1 would be interpreted as evidence of disenfranchisement.

This is clearly incorrect.




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  Table 1: Rejection Rates of Ballots Due to SB 1, Per Professor Mayer's Report
  County      Total Votes Cast in 2022 2022 Total Mail Absentee Fraction of Total % Total votes cast
                  General Election          Ballots Rejected on         votes cast   rejected due to SB 1
                                           Account of SB 1, per      rejected due to
                                              Mayer Table 1                SB 1

                             (1)                              (2)                  (3) = (2)/(1)         (4) = (2)/(1)*100

  Dallas                  626,944                            320                      0.000510                0.0510%
  Harris                 1,110,726                          2,558                     0.002303                0.2303%
  Hidalgo                 143,775                             71                      0.000494                0.0494%

  Totals                 1,881,445                          2,949                     0.001567                0.1567%
  Notes: In Column (1), 2022 total votes cast was computed as the number of cumulative in-person votes reported on the
  Secretary of State Website at https://earlyvoting.texas-election.com/Elections/getElectionEVDates.do at the close of business
  on election day in 2022, plus the number of mail absentee ballots returned reported in Column 1 of Table 1 from Mayer.
  Column (2) is taken directly from Table 1 in Mayer.


         B. Professor Mayer’s assertion that SB 1 caused an increase in mail ballot rejection
            rates is based on pre-SB 1 data that appear to be incorrect

         12.       Professor Mayer also asserts that SB 1 caused an increase in mail-in ballot rejection

rates. The trouble with this assertion is that any pre- versus post-policy comparison, including this

one, is only as good as the underlying data. Unfortunately, there are reasons to doubt the quality of

ballot rejection data prior to SB 1. That is in part because another bill, passed around the same time

as SB 1, introduced a ballot tracker. In addition, SB 1 introduced a cure process. For these reasons,

counties were required to collect more data after SB 1 compared to before. This creates problems for

before-versus-after comparisons.

         13.       These concerns are borne out in the data. Columns (2) and (3) of Table 2 show the

number and rate of mail-in ballot rejections in the 2022 general election for reasons other than the

identification requirements associated with SB 1. It shows that 1.66, 0.86, and 0.67 percent of mail ballots in

Dallas, Harris, and Hidalgo counties were rejected. Columns (4) and (5) show that ballot rejections

for non-SB 1 reasons were 2.7 to 2.8 times higher in Dallas County and Harris County in 2022,

compared to all ballot rejections for 2020. Yet there is no reason to expect that SB 1 should increase

the rate of ballot rejections for reasons that have nothing to do with SB 1’s identification requirements.


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Rather, this result indicates something is clearly wrong with the underlying data, the comparison, or

both. At best, this casts serious doubt on the reliability of before-versus-after comparisons in assessing

the causal impact of SB 1 on ballot rejection rates.


  Table 2 Rejection Rates of Mail-In Ballots for Non-SB 1 Reasons, 2020 and 2022
  County                 2022 Mail       2022 Total Mail Absentee      2022 Mail Absentee        2020 Total Mail Increase in Total Rejection Rate
                     Absentee Ballots        Ballots Rejected for       Rejection Rate for       Absentee Ballot from 2020 to 2022, including
                         Returned        Reasons NOT Associated          Rejections NOT           Rejection Rate Only Rejections in 2022 NOT
                                                  with SB 1           Associated with SB 1                                 Due to SB 1

                            (1)                     (2)                     (3) = (2)/(1)              (4)                  (5) = (3)/(4)

  Dallas                  20,914                    347                        0 0166                0 0061                      27
  Harris                  64,625                    558                        0 0086                0 0031                      28
  Hidalgo                 5,059                     34                         0 0067                0 0108                      06

  Totals                  90,598                    939                        0 0104                0 0044                      24

  Source:             Mayer Table 1       Computed from Mayer                    -               Mayer Table 1                    -
                                               Table 2
  Notes: 2022 Total votes cast was computed as the number of cumulative in-person votes reported on the Secretary of State Website at
  https://earlyvoting texas-election com/Elections/getElectionEVDates do at the close of business on election day in 2022, plus the number of mail
  absentee ballots returned reported in Column 1 of Table 1 from Mayer


            14.      Finally, Professor Mayer seems to give little thought to whether the mail ballot

rejection rates are likely to remain similar to those observed in the November 2022 election. This is

important because anytime a new rule is introduced, there is a learning curve for both election

administrators and voters. This was evident in the fact that the mail-in ballot rejection rate for all of

Texas fell from 12.4 percent to 2.7 percent from the 2022 primary election to the 2022 general

election.1 It was also explicitly acknowledged by the Brazos County Elections Administrator, who

indicated that many of the mail-in ballot rejections for the November 2022 election she had seen at

the time of the interview were from voters who had not yet learned, despite election administrators’

best efforts, to follow the new rules.2 As a result, it is possible, if not likely, that ballot rejection rates

will decline going forward, compared to the November 2022 election.


1 Rejections of Texans’ mail ballots decline markedly from big surge in March primary (dallasnews.com)
2 Of the voters who had voted in the primary, Ms. Hancock said “This is a new process for them.
                                                                                            Those who voted in
the primary and the runoff know what they need to do, as opposed to someone who is only voting in the November
election.” See https://www.texastribune.org/2022/10/20/voting-texas-ballot-rejections/.


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         C. Professor Mayer’s Assertions that SB 1 Lacks Any Legitimate Justification

         15.     After (mis)interpreting the 2,949 ballot rejections among the 1,881,445 ballots cast and

counted as evidence of disenfranchisement, Professor Mayer asserts that SB 1’s mail absentee ballot

rules are “pure deadweight”, and that “[t]he new mail absentee ballot rules, moreover, do not

contribute to election security or the integrity of the voting process”.

         16.     The first problem with these assertions is that as demonstrated above, the evidence

that Professor Mayer chose to interpret as evidence of disenfranchisement could just as easily be

interpreted as evidence of a reduction in fraud. In this way, his rationale for asserting that SB 1 does

not reduce fraud is based entirely on his own (mis)interpretation of rejected votes as unambiguous

evidence of disenfranchisement, rather than fraud.

         17.     In addition, much if not all of Professor Mayer’s argument seems to hinge on his

mistaken belief that absence of evidence is evidence of absence. For example, in concluding that

election fraud is rare, he cites both the number of prosecuted fraud cases in Texas, as well as a study

by Auerbach and Pierson (2021) that used data on the number of election fraud cases prosecuted

nationally. The trouble, of course, is that it is difficult to detect and measure election fraud in general,

and the type of fraud that would be prevented by SB 1’s mail-in voting rules in particular. Professor

Mayer acknowledges this himself in his own study, where he states that “the prevalence of fraudulent

voting, as with any illegal or largely private matter, is difficult to measure.”3 Given that reality, how

could we have any confidence that mail-in voter fraud would be detected if it occurred?

         18.     While it is hard to know the answer to that question, we can assess how the incidence

of other types of crime compares with measures of crime prosecution. It turns out, for example, that

less than seven percent of property crimes are both reported and prosecuted or otherwise cleared by



3 See Ahlquist, Mayer, and Jackman (2014), which can be accessed at https://www.liebertpub.com/doi/abs/10.1089/

elj.2013.0231.


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police.4 In fact, even for the highest-priority criminal incidents—violent crime—only 21.4 percent are

prosecuted. Yet it would be a mistake to pretend that those incidents that were not prosecuted never

happened.

         19.      Importantly, property crimes are very likely to be detected by the victim, and violent

crimes are almost certain to be detected by the victim. In contrast, mail-in voting fraud is unlikely to

be detected by its victims or election personnel. This raises an important question: If prosecutions

for property and violent crimes are that low, when the crime is almost certainly detected, when there

is a victim who has an incentive to report the crime, and when there is often considerable evidence,

wouldn’t we expect the prosecution rate for mail-in voting fraud to be much, much lower? To be

clear, I do not claim to know whether unreported mail-in voter fraud is common, or nonexistent.

Rather, the prudent view is that it is difficult or even impossible for anyone to know with any degree

of certainty.

         20.      Moreover, even if one believes there is zero election fraud, it is clear the American

public strongly disagrees. For example, a 2016 survey by the Associated Press and the NORC Center

for Public Affairs Research at the University of Chicago indicates that 35 percent of Americans say

there is a “great deal” of election fraud in the United States, 39 percent say there is “some election

fraud”, and only 24 percent say there is “hardly any”.5 Similarly, a 2020 survey administered by

California Institute of Technology found that 15 percent of registered voters believe that absentee

ballot impersonation is “very common”, and another 18 percent believe there is “occasional” absentee

ballot impersonation.6 It is hard to imagine that anyone, including Professor Mayer, would dispute

that these perceptions are bad for democracy. As a result, one clear potential benefit of administering


4  See https://www.pewresearch.org/fact-tank/2017/03/01/most-violent-and-property-crimes-in-the-u-s-go-unsolved/,
which indicates that only 34.6 percent of property crimes are even reported to the police, and only 19.4 percent of those
are cleared (0.346 * 0.194 = 0.067).
5 See https://apnorc.org/projects/views-on-the-american-election-process-and-perceptions-of-voter-fraud/.
6 See   https://static1.squarespace.com/static/5ace8a6b45776eba2e40cbee/t/5fbbe565ae796c5cf419b024/16061494779
49/Perception of Fraud 2020 Survey Report.pdf.


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     safeguards such as those adopted by SB 1 is they may reduce these perceptions of widespread election

     fraud.


V.       The Errors in Professor Mayer’s Disparate Impact Analysis

              21.    The doctrine known as “disparate impact” pertains to insufficiently justified practices

     that, while facially neutral with respect to factors such as race or ethnicity, have the impact of harming

     some protected groups more than others. In his report, Professor Mayer asserts that SB 1’s safeguards

     on absentee voting “disproportionately burden non-White voters”. If true – and if one were to believe

     Professor Mayer’s unfounded declarations that SB 1’s safeguards provide zero benefit and are thus

     insufficiently justified – this would indeed be troubling.

              22.    The problem with Professor Mayer’s analysis is threefold. First, Professor Mayer

     computed disparate impact incorrectly. Fixing this mistake in Harris County reveals that SB 1 had a

     disparate impact against Whites, relative to Hispanics, and had no disparate impact against Asians.

     Second, Professor Mayer fails to account for the fact that he does not observe actual race or ethnicity,

     for any Texan voters. Rather, he uses measures that represent educated guesses based on surname

     and residential neighborhood. The resulting classification error is significant. Thus, while Professor

     Mayer (and I) can estimate differences by predicted race, I demonstrate that this tells us little with

     certainty about differences by actual race. Third, Professor Mayer seems to ignore the issue of whether

     Texas voters consider alternative forms of voting as good substitutes for mail-in voting. This is

     important, since that issue is essential to assessing burden. I describe each of these three problems in

     turn.

         A. Professor Mayer’s incorrect method of computing disparate impact in Harris County
            and Dallas County

              23.    In assessing whether SB 1’s safeguards on mail-in voting had a disparate impact on

     minority voters in Harris County, Professor Mayer examines only the voters in 2020 who chose to



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vote via mail-in ballot. He then asserts that the results in Table 3 of his report, which show higher

mail ballot rejection rates for voters predicted to be minorities, are evidence of disparate impact.

         24.          Professor Mayer’s focus only on those voters who chose to vote absentee is incorrect.

Table 3 provides an example that illustrates the problem. It shows voting behavior for two equal-

sized groups: Group A, and Group B, after a hypothetical mail-in voting rule is adopted.7 All 1,000

members of Group A chose to vote by mail. Ten percent, or 100, of those votes were subsequently

rejected. By comparison, of the 1,000 members of Group B, only 2 voted by mail, 1 of whom was

rejected.


 Table 3: Illustration of How Computing Disparate Impact Incorrectly, as Professor Mayer Did, Can Lead to Incorrect
 Conclusions
 Race          Total Total Mail Mail          Mail    % Mail Ballots Incorrect Odds         % Ballots      Correct Odds
               Votes      Ballots  Ballots   Ballots      Rejected          Ratio for       Rejected         Ratio for
                Cast       Cast   Accepted Rejected      (Incorrect        Computing (Correct Method Computing
                                             Due to    Method Used          Disparate     of Measuring       Disparate
                                            ID Rules     by Mayer)       Impact Used by     Disparate         Impact
                                                                             Mayer           Impact)
                (1)          (2)        (3)       (4)          (5)               (6)              (7)               (8)

 Group A       1,000        1000       900        100         10.0%               -             10.0%               -
 Group B       1,000          2         1          1          50.0%              5.0            0.1%              0.010



         25.          It is clear from this example that the hypothetical mail ballot identification rule had a

disparate impact on Group A, relative to Group B. That is because while the rejection rate among

absentee voters was higher in Group B than Group A (50 percent versus 10 percent), members of

Group A voted absentee at much higher rates. The importance of considering the latter is obvious:

while only 1 out of 1,000 members of Group B was unable to vote due to the hypothetical

identification rules, 100 out of 1,000 members of Group A were unable to do so. Thus, the correct

odds ratio of 0.01 is shown in Column (8), which is the proportion of all ballots rejected for Group


7 Assume, for the sake of simplicity, that no mail-in ballots were rejected prior to the adoption of the hypothetical rule,

and that all of the votes cast were legitimate.


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B, divided by the same rate for Group A (both shown in Column (7)). This indicates that Group B’s

rejection rate is only one percent as large, or 99 percent lower, than Group A’s rejection rate.

         26.       Yet under Professor Mayer’s flawed approach used in Tables 3 through 6 of his report,

he would mistakenly conclude that there was disparate impact against Group B (only one member of

which was prevented from voting), relative to Group A (which had 100 members prevented from

voting). This is because he considers only the members of Groups A and B who voted absentee, and

ignored the prevalence of voting method across groups.

         27.       Notably, the importance of considering the prevalence of voting method by group in

assessing disparate impact has been acknowledged by at least two of the plaintiff’s experts, including

Professor Mayer himself. For example, on page 11 of Professor Mayer’s March 6 report, he states,

with respect to drive-thru voting, that “voters of color in Harris County disproportionately relied on

drive-thru voting during the 2020 general election, and that eliminating the method of voting imposes

a disproportionate burden on such voters.” Similarly, another expert for the plaintiff, Professor Eric

McDaniel, stated in line 266 of his February 28, 2022 report that “Blacks are more likely to vote

absentee than their White or Hispanic counterparts, meaning that the new regulations will increase

the difficulty of them doing so in the future.” While both of these statements are likely problematic

for other reasons—for example, I demonstrated in my response that Professor McDaniel ignored data

for years that showed the opposite pattern—both were correct in asserting the importance of the

prevalence of voting method across groups in assessing disparate impact.

         28.       Table 4 shows that correcting this error implies that there is no longer any evidence of

disparate impact against voters predicted to be Hispanic, or predicted to be Asian, in Harris County.

Column (1) shows the total number of votes cast, per the data provided to me by Professor Mayer.8


8 I was not able to determine whether these included the mail-in ballots or not, since Professor Mayer did not provide me

with those data. However, in practice it matters little either way for the purpose of this table, since the number of mail-in
ballots is small relative to total votes cast.


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Column (2) shows the number of mail-in votes rejected, as reported by Professor Mayer, and Column

(3) reports the fraction of total votes rejected for reasons associated with SB 1. As shown there, only

0.2 percent of ballots cast by predicted-White voters were rejected, compared to 0.4, 0.16, and 0.2

percent of ballots cast by predicted-Black, predicted-Hispanic, and predicted-Asian voters in Harris

County.

          29.        The correct odds ratios, or the rejection rate for predicted-minority groups divided by

that for predicted-Whites, are shown in Column (4). The incorrect odds ratios reported by Professor

Mayer are reported in Column (5). It shows that when computed properly, there is evidence of

disparate impact against predicted-Whites relative to predicted-Hispanics, and no evidence at all of

disparate impact against predicted-Asians. In contrast, the evidence of disparate impact against

predicted Blacks is somewhat larger than Professor Mayer reported (2.09 versus 1.82), though in the

next section I discuss the significant problems associated with predicting race in general, and in

particular for Black Americans.



Table 4: Computing Correct Odds Ratios for Computing Disparate Impact (Harris County 2022 General)
                            Total   Mail-In Ballots Proportion    Correct Odds Ratios Incorrect Odds Ratios
                           Votes Rejected due to Total Votes (Relative to White) for (Relative to White) for
                            Cast   SB 1, per Mayer Rejected for Computing Disparate Computing Disparate
                                                    SB 1 Reasons         Impact           Impact, Reported by
                                                                                                Mayer
                             (1)          (2)            (3)               (4)                     (5)
Predicted White           626,680        1,251        0.00200                -                      -
Predicted Black           187,416         782         0.00417             2.09                    1.82
Predicted Hispanic        222,556         357         0.00160             0.80                    1.86
Predicted Asian            61,989         127         0.00205             1.03                    1.71
Predicted Other             4,256          18         0.00423             2.12                    2.13
Total                    1,102,897       2,535        0.00230                -                      -
Notes: Column (1) counts all individuals indicated to have voted per the data Professor Mayer provided to me Column (2) is taken directly
from Table 3 of Mayer, while Column (5) is taken from Table 4 of Mayer The difference in rejection likelihood is not different for Predicted-
Asian versus Predicted-White; in all other cases the differences are statistically significant




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        30.      Unfortunately, I am unable to report corrected disparate impact estimates for Dallas

County. This is because doing so requires individual-level data, with predicted race or ethnicity, for

all voters in Dallas County. In contrast, the data Professor Mayer shared with me include only the

names of absentee voters in Dallas County.

        31.      However, the results of the illustration shown in Table 3 above, and the results of the

correct analysis for Harris County shown in Table 4 above, make it clear that we learn little about

likely disparate impact from the incorrect analyses shown in Professor Mayer’s report. In particular,

without knowing the rate at which predicted-Black and predicted-Hispanic voters in Dallas County

voted absentee, one is unable to assess whether SB 1’s rules regarding identification may have had a

disparate impact on either group, relative to predicted-Whites.

    B. The Impact of the Large Classification Error When Using Predicted Race or Ethnicity,
       Rather than Actual Race or Ethnicity

        32.      It is easy to get the mistaken impression from Professor Mayer’s report that he

observes voting outcomes by race and ethnicity. He does not. Rather, he is relying on a measure of

race or ethnicity that comes solely from a voter’s surname, combined with the Census characteristics

of the Census Block Group (i.e., neighborhood) of the voter’s residence.

        33.      The problem, of course, is that this method of inferring race or ethnicity is far from

perfect. There are two types of classification errors. The first, called Type I error, or “false positive

rate”, is when the algorithm predicts that an individual belongs to an ethnic group when that is not

true in reality. For example, the published paper by the researchers who developed this algorithm

note that 4.28 percent of individuals predicted to be Black, are not actually Black.9 An even bigger




9 See Table 5 in “Addressing Census Data Problems in Race Imputation via Fully Bayesian Improved Surname Geocoding

and Name Supplements” by Kosuke Imai, Santiago Olivella, and Evan T. R. Rosenman, which was published in Science
Advances on December 9 of 2022. The paper is accessible at https://www.science.org/doi/10.1126/sciadv.adc9824.


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problem is Type II error, or “false negatives”. The published estimate implies that of those individuals

predicted to not be Black, 17.77 percent are actually Black.

        34.     How do classification errors of this magnitude impact our ability to estimate disparities

across actual race? The typical way of addressing this type of issue is to perform what social scientists

refer to as a bounding exercise, where we compute the range of possibilities that could arise under

different assumptions about the classification error. If classification errors are small and matter little,

then both bounds are similar, which gives us confidence that the answer is unaffected by the

assumptions one makes about that error. On the other hand, if the range between the bounds is

wide—as turns out to be the case for this setting—it implies we know little about the correct answer

to the question.

                B.1 Harris County

        35.     Table 5 shows the results from a bounding analysis for Harris County. I focus only

on the rejection rate for predicted-Black voters in Harris County, since that was the one group for

which the correct analysis in Table 4 suggested there may be evidence of disparate impact. Panel A

indicates that there were 187,416 voters in Harris County in 2022 who were predicted to be Black. Of

those, 782 had mail-in ballots rejected as a result of the identification safeguards associated with SB 1.

As noted above, however, our best estimate is that 4.28 percent of those voters were not actually

Black. This suggests that of the 187,416 predicted-Black voters, only 179,395 were actually Black.

        36.     Of those, how many had their absentee ballots rejected due to SB 1? The answer is

that there is no way for me, or Professor Mayer, to know. The true answer is that perhaps all 782

rejections, and perhaps none. Columns (4) and (5) show the lower and upper bound for rejection

rates, which are 0.0000 and 0.0044. Put differently, while Professor Mayer knows the ballot rejection

rate for voters predicted to be Black, he does not know the ballot rejection rate for the subset of those

voters who are actually Black. Rather, the only thing we know for sure is that the rate is between 0



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and 0.0044, and the odds ratio relative to predicted-White voters is between 0 (Column (6)) and 2.18

(Column (7)).

          37.        Panel (B) of Table 5 shows that the problem is even worse with respect to the other

type of classification error. In particular, of those voters predicted to NOT be Black—which in the

case of Harris County is 915,481 voters—the researchers who constructed the algorithm believe 17.77

percent are actually Black. Given 915,481 voters in Harris County were predicted to not be Black,

this means that the algorithm misclassifies 162,681 Black voters in Harris County as some race or

ethnicity other than Black.

          38.        Put differently, the authors of the algorithm expect that there are 342,076 Black voters

in Harris County. Yet the algorithm only classifies 187,416 as Black, and several thousand of those

aren’t actually Black.


Table 5: Impact of Errors in Predicting Race on the Range of Possible Rejection Rates of Black Voters in Harris County
                                        Total Votes # Rejected Mail-In               Rejection Rate               Odds Ratio: Actual
                                                       Ballots per SB 1                                         Black/ Predicted White
                                                                                  Actual    Lower    Upper           Lower        Upper
                                                                                            Bound    Bound           Bound        Bound
                                              (1)               (2)                 (3)      (4)      (5)             (6)          (7)
Panel A: Voters Predicted to be Black
Predicted Black, 4.28 percent of whom      187,416             782                0.0042       -         -              -            -
are not actually Black

Actual Black voters who were               179,395    Unknown; between 0        Unknown 0.0000        0.0044          0.00          2.18
predicted to be Black                                      and 782

Panel B: Voters Predicted Not Black
Predicted Not Black, 17.77 percent of      915,481             1,753              0.0019       -         -              -            -
whom are actually Black

Voters predicted as not Black, but who     162,681    Unknown; between 0        Unknown 0.0000        0.0108          0.00          5.39
are actually Black                                        and 1,753

Panel C: Actual Black Voters
Actual Black Voters                        342,076       Unknown; between 0 Unknown 0.0000 0.0074                       0.00        3.71
                                                               and 2,535
Notes: Per the study by Imai, Olivella, and Rosenman (2022) published in Science Advances , 4.28 percent of voters predicted to be Black
are actually Black, while 17.8 percent of voters predicted not to be Black are actually Black. These error rates are used in Column (1) to
estimate the number of actual Black voters. Odds ratios in Columns (6) and (7) are computed by dividing the rejection rate in Columns
(4) and (5) by the rejection rates for voters predicted to be White, which was 0.002.




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        39.     It should be obvious that the voting behavior of the 162,681 expected-Black voters

who are misclassified as non-Black will have a major impact on the actual ballot rejection rate of Black

voters. How wrong can the estimates for predicted-Black voters be? It depends entirely on how many

of those misclassified Black voters had their ballots rejected. The only thing anyone can know for

sure is that the true number is somewhere between 0 (if all of the 1,753 rejections were for non-Black

voters) and all of them (i.e., 1,753).

        40.     Panel C sums up the net impact of both of these types of errors. Even though the

algorithm predicted that only 187,416 voters were Black, based on the published error rates there were

actually an estimated 342,076 actual Black voters. Those Black voters were associated with somewhere

between 0 and 2,535 rejected mail-in ballots. That means that rejection rate could be zero, which is

obviously less than that of predicted-Whites, or 0.0074, which is 3.71 times the rate for predicted-

Whites. There is no way to know, without imposing impossible-to-justify assumptions, where in that

range the true disparity lies.

                B.2 Dallas County

        41.     Professor Mayer also concludes that SB 1 generated a disparate impact against

predicted-Black and predicted-Hispanic voters in Dallas County. As noted above, and as with Harris

County, he computed disparate impact incorrectly. In particular, he ignored the possibility that

different groups can vote absentee at different rates, even though that is a major factor in assessing

whether a group is disproportionately impacted by additional voting rules.

        42.     In addition, as in his analysis of Harris County, Professor Mayer only provides

evidence regarding racial disparities between predicted-Black or predicted-Hispanic voters, compared

to predicted-White voters. Again, this begs the question: what do these estimates tell us about the

differences between voters whose actual race or ethnicity is different?

        43.     As in Harris County, the answer is “very little”. Tables 6 and 7 show the same type of


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bounding analysis for Dallas County. The difference between these tables, and Table 5 for Harris

County, is that in Dallas County I am unable to compute disparate impact correctly. This is because

I do not have voter-level data, including residential address, on every voter who cast a ballot in the

2022 election in Dallas County. As a result, I instead perform a bounding exercise for disparate impact

estimates computed in the same (incorrect) way as Professor Mayer.

        44.     Results in Tables 6 and 7 show that as in Harris County, once we take into account

the known error rates in classifying race and ethnicity, we know little about the relative rejection rates

of actual White mail-in voters compared to those who are actually Black, or Hispanic. Again, the

intuition is straightforward. Column (2) of Panel A of Table 6 shows that Professor Mayer predicts

that 4,230 mail-in voters in Dallas County were Black. The biggest problem is that there were actually

an estimated 7,014 actual Black voters who cast mail-in ballots. Nearly 3,000 Black voters were

improperly predicted to be White. What hope do we have of computing the correct ballot rejection

rate for Black mail-in voters when we are misclassifying nearly half of them?

        45.     Similarly, for Hispanics, Column (2) of Panel A of Table 7 shows that Professor Mayer

predicts there were 1,550 ballots cast by Hispanic voters. Again, the biggest problem is that there

were another 2,277 actual Hispanic voters who were misclassified as being non-Hispanic. Put

differently, in computing the ballot rejection rate of predicted-Hispanics, Professor Mayer is ignoring

the rejection rate of more than half of Hispanics who cast mail-in ballots. Any reasonable observer

ought to question the reliability of this method as a way of computing disparate impact across racial

or ethnic groups.

        46.     Column (7) of Tables 6 and 7 show that once we take into account the significant

classification error, it is possible that the ballot rejection rates of actual Black and Hispanic voters are

much lower—even zero—compared to the ballot rejection rate of actual White voters. Put differently,




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we learn very little about racial disparities across actual race or ethnicity by comparing across

individuals who are predicted to be of different race or ethnicity.
Table 6: Impact of Errors in Predicting Race on the Range of Possible Rejection Rates of Black Voters in Dallas County
                                           Total     # Mail-In # Rejected Mail-In         Rejection Rate among Mail-in               Odds Ratio: Actual
                                          Votes        Ballots     Ballots per SB 1                  Ballots                       Black/ Predicted White
                                                                                                Actual    Lower      Upper           Lower        Upper
                                                                                                          Bound      Bound           Bound        Bound
                                         (1)                (2)               (3)                 (4)      (5)        (6)             (7)          (8)
Panel A: Voters Predicted to be Black
Predicted Black, 4 28 percent of whom Unavailable         4,230               101               0 0239       -          -               -            -
are not actually Black

Actual Black voters who were             Unavailable      4,049      Unknown; between         Unknown 0 0000         0 0249           0 00         1 95
predicted to be Black                                                   0 and 101

Panel B: Voters Predicted Not Black
Predicted Not Black, 17 77 percent of Unavailable         16,684              219               0 0131       -          -               -            -
whom are actually Black

Voters predicted as not Black, but who Unavailable        2,965      Unknown; between         Unknown 0 0000         0 0739           0 00         5 78
are actually Black                                                      0 and 219

Panel C: Actual Black Voters
Actual Black Voters                      Unavailable      7,014     Unknown; between Unknown 0 0000 0 0456                         0 00         3 57
                                                                          0 and 320
Notes: Per the study by Imai, Olivella, and Rosenman (2022) published in Science Advances , 4 28 percent of voters predicted to be Black are actually
Black, while 17 8 percent of voters predicted not to be Black are actually Black These error rates are used in Column (2) to estimate the number of
actual Black voters Odds ratios in Columns (7) and 8) are computed by dividing the rejection rate in Columns (5) and (6) by the rejection rates for
voters predicted to be White, which was 0 01278



 Table 7: Impact of Errors in Predicting Race on the Range of Possible Rejection Rates of Hispanic Voters in Dallas County
                                          Total Votes # Mail-In # Rejected Mail-In          Rejection Rate among Mail-in             Odds Ratio: Actual
                                                          Ballots      Ballots per SB 1                Ballots                    Hispanic/ Predicted White
                                                                                                Actual    Lower      Upper           Lower         Upper
                                                                                                          Bound      Bound           Bound         Bound
                                             (1)              (2)              (3)                (4)      (5)        (6)             (7)           (8)
 Panel A: Voters Predicted to be Hispanic
 Predicted Hispanic, 2 11 percent of      Unavailable        1,550              27              0 0174       -          -               -                -
 whom are not actually Hispanic

 Actual Hispanic voters who were           Unavailable       1,517     Unknown; between       Unknown 0 0000         0 0178           0 00          1 39
 predicted to be Hispanic                                                  0 and 27

 Panel B: Voters Predicted Not Hispanic
 Predicted Not Hispanic, 11 76 percent Unavailable          19,364             293              0 0151       -          -               -                -
 of whom are actually Hispanic

 Voters predicted as not Hispanic, but     Unavailable       2,277     Unknown; between       Unknown 0 0000         0 1287           0 00          10 07
 who are actually Hispanic                                                0 and 293

 Panel C: Actual Hispanic Voters
 Actual Hispanic Voters                    Unavailable       3,795    Unknown; between Unknown 0 0000 0 0843                          0 00           6 60
                                                                            0 and 320
 Notes: Per the study by Imai, Olivella, and Rosenman (2022) published in Science Advances , 2 11 percent of voters predicted to be Hispanic are actually not
 Hispanic, while 11 76 percent of voters predicted not to be Hispanic are actually Hispanic These error rates are used in Column (1) to estimate the
 number of actual Hispanic voters Odds ratios in Columns (7) and (8) are computed by dividing the rejection rate in Columns (5) and (6) by the rejection
 rates for voters predicted to be White, which was 0 01278



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                  B.3     Additional considerations casting doubt on the reliability of using
                          educated guesses about race and ethnicity to assess disparate impact

         47.      As though the results in Tables 5 – 7 are not bad enough news for the reliability of

this type of analysis, the reality is even worse. Tables 5 – 7 only consider the error in computing the

ballot rejection rate of Black or Hispanic voters. Yet disparities are constructed by comparing that

rate for (actual) Blacks to the rate for (actual) Whites. Unsurprisingly, there is also considerable error

in predicting whether a voter is White. Additionally adjusting for this would further increase the

likelihood that comparisons across predicted-race are uninformative of reality.

         48.      In addition, the algorithm was constructed using data from other states, and did not

include Texas. To the extent that Texas is different from those states, we would expect the

classification error rates to be even higher than what was documented by Imai, Olivella, and Rosenman

(2022).10

         49.      In fact, there is evidence that out-of-sample error rates are much higher than those

reported by Imai, Olivella, and Rosenman (2022), which I used in Tables 5 - 7. For example, the

American Financial Services Association commissioned a report by Charles River Associates in

November of 2014.11 As part of that report, the authors assessed the classification error rate using

the BISG method also used by Professor Mayer. They did this by comparing predicted race to actual

self-reported race, and therefore test the reliability of the BISG method used by Dr. Loren

Collingwood, and provided to Professor Mayer.

         50.      The results are alarming. Table 8 of that Charles River Associates report shows that

when using a threshold of 50 percent (e.g., an individual is classified as Black if the probability of Black




10 It is also unclear to me whether Professor Mayer uses predictions based on the rBISG method described in the Imai,

Olivella, and Rosenman (2022) study, or the less accurate BISG method. I assume they are using the former, but if they
are using the latter, my analysis understates the impact of classification error.
11 The report is entitled “Fair Lending: Implications for the Indirect Auto Finance Market”. It can be accessed at

https://www.crai.com/insights-events/publications/fair-lending-implications-indirect-auto-finance-market/.


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is greater than 50 percent), 43.6 percent of those classified as Black are not actually Black. They also

show that 51.8 percent of actual Black individuals are incorrectly classified as being not Black.

         51.       The results of that study also demonstrate that while it is possible to use alternative

rules to reduce one type of classification error, it comes at the cost of increasing another.12 For

example, Table 8 of the same report shows that if one instead uses a threshold of 80 percent, it reduces

the number of non-Black individuals mistakenly predicted to be Black from 43.6 percent to 22.4

percent. However, the same change increases the fraction of Black individuals who are mistakenly

classified as non-Black from 51.8 percent to 75.8 percent.

         52.       In short, the problem is that surname and residential neighborhood simply aren’t very

good at predicting actual self-reported race or ethnicity. As a result, it is hard to infer anything about

disparities across actual race or ethnicity using that approach.

    C. Professor Mayer’s analyses of disparate impact ignore the fact that Texan voters are
       willing and able to substitute from mail-in voting to in-person voting

         53.       Leaving aside the issue of whether the identification safeguards imposed by SB 1 are

justified, an important factor in assessing whether voters are burdened by SB 1 depends on the extent

to which they are willing and able to vote using another method. For example, if voters viewed in-

person voting as a perfect substitute for mail-in voting, then even the strictest regulation—such as the

elimination of all mail-in voting—would not have adverse effects on voters. On the other hand, if

voters in Texas view voting in person as a poor substitute for voting absentee, some may decide not

to vote at all in response to the mail-in ballot requirements of SB1.13




12 The other alternative is to exclude individuals for whom there is an especially low degree of certainty about their actual

race, though this is also problematic for obvious reasons.
13 This is the same issue that economists face in assessing tax incidence, which involves identifying which party in the

market bears the burden of a tax. While one might be inclined to believe that individuals who consume the good being
taxed will bear the burden, this need not be the case. In particular, if those consumers have a perfect substitute available
to them, they will simply shift consumption and bear none of the tax burden.



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        54.     Despite the fact that substitutability is central to establishing burden, Professor Mayer

never discusses the issue in his report. The only reference to voters substituting or not substituting

across methods is in a single footnote, which mentions less than 500 voters. Yet this is a critical issue

for assessing whether SB 1 generated a burden on voters, or a disparate burden on minority voters.

        55.     The best way to assess substitutability is to use an approach that mirrors the following

thought experiment: If we were to make absentee voting easy for a random set of voters, but more

difficult for otherwise similar voters, would they vote at similar rates? Put differently, would voters

substitute toward voting in person on a one-to-one basis, or would some voters be so burdened that

they no longer participate?

        56.     Coincidentally, the best study on this topic, which was published in Science Advances in

2021, mirrors this thought experiment using data from Texas (and Indiana). Intuitively, the authors

compare those who just turned 65 prior to the election and could easily vote absentee to those who

turned 65 just after the election, and could not. Notably, this is a much more extreme hurdle to mail-

in voting than any caused by SB 1. Yet while eligible voters did shift toward absentee voting, this

increased turnout was offset in a one-to-one fashion by a shift away from in-person voting. In short,

the ability to vote absentee only impacts how Texans (and Hoosiers) vote, not whether they vote. Put

differently, the results indicate even a version of SB1 that made absentee voting nearly impossible for

everyone would not impose a sufficiently large burden as to prevent Texans from voting.

        57.     The basic result of the study is shown in Figure 1 which replicates Figure 2 from the

original paper. It shows that while there were clear jumps in the likelihood of voting by mail at age

65 in the 2012, 2016, and 2020 elections, there was no such jump in overall voter turnout. In other

words, voters seemed to substitute from mail-in voting to in-person voting, on a one-to-one basis,

when they were not allowed to vote by mail (i.e., when they were not yet 65 years old).




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        58.     Notably, the change in the ability to vote absentee studied in that paper—where very

few 64 year-olds are eligible to vote by mail—is much more extreme than the changes imposed by

SB1. As a result, one must ask: If even an extreme change in the ability to vote by mail does not

burden Texas voters so much that they do not vote, then why would we expect the much smaller

changes imposed by SB1 to impose a burden?

        59.     It is not clear from Professor Mayer’s report whether or not the mail-in ballot

rejections he considers are final rejections in which the individual did not subsequently vote using any

method. In particular, it is unclear whether the 2,949 voters Professor Mayer identifies as having had

their ballot rejected were able to vote successfully by either curing their ballot, or voting using another

method.

        60.     However, what is clear is that across all of Texas in the 2022 election, there were only

6,355 mail-in ballots, out of 8.1 million votes cast, that were rejected, and where the voter did not

subsequently vote successfully by mail or another method. This evidence comes from the February

3, 2023 report of another expert for the plaintiff, Professor Eitan Hersh, and is documented in my

response to that report. Importantly, there is no evidence in Professor Hersh’s report or in the

underlying data to suggest that these votes were legitimate rather than illegitimate votes. Similarly,

there is no evidence to suggest voter errors were not responsible for some or all of the rejections,

which may well become less common as voters become more familiar with the new rules. Professor

Hersh’s finding is consistent with the evidence shown in Figure 1 from the Science Advances study,

which shows that even severely restricting mail-in voting only changes how Texans vote, not whether

they vote.




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                          Figure 1: A replication of Figure 2 from Yoder et al. (2021)




VI.   Professor Mayer’s incorrect assertion that the elimination of drive-thru voting had a
      disproportionate effect on non-White voters

          61.     Professor Mayer asserts that “the elimination of drive-thru voting had a

  disproportionate effect on non-White voters who cast early drive-thru votes in the 2020 general

  election.” In this section, I demonstrate that Professor Mayer’s assertion is incorrect.

          62.     I do so in three ways. First, I show that there is no evidence of an adverse effect of

  SB 1 on the subsequent voting of drive-thru voters, either in the aggregate or for any predicted-race

  or ethnic group. Second, I show that implementing the same statistical test of “disparate impact” that

  Professor Mayer used yields nonsensical results. In particular, I show that if one uses that test on non-

  drive-thru early voters from Calhoun County in 2020, one would conclude that SB 1 had a disparate

  impact on them as well. Yet those voters’ voting methods were clearly unaffected by SB 1. Finally,

  Professor Mayer’s use of predicted measures of race and ethnicity, as in his analysis of Harris County




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and Dallas County, makes it difficult to infer much of anything regarding differences across actual

race or ethnicity.

    A. Disparate impact implies there is an adverse effect on voters, and there is no evidence
       that drive-thru voters were adversely impacted either in the aggregate, or for any
       predicted-race or ethnic group

         63.      As background, it is helpful to remember the meaning of “disparate” or

“disproportionate” impact, as it applies to the setting of drive-thru voting. In particular, the concern

is that a facially neutral policy has a larger adverse impact on some protected groups than others.

         64.      What would it mean for the elimination of drive-thru voting to have an adverse effect

on voters? If, for example, drive-thru voters were unable to vote using an alternative method, we

would expect to see these voters vote at much lower rates than their counterparts who also voted early

during the 2020 general election.

         65.      The problem is that there is zero evidence that the drive-thru voters in Calhoun

County voted at lower rates than their non-drive-thru voting counterparts. Results are shown in

Figure 2. It shows that in the 2022 primary election and the 2022 general election, drive-thru voters

from 2020 voted at higher rates than their counterparts who voted early and in-person during the 2020

election. Put differently, there is no evidence that the elimination of drive-thru voting had any adverse

effect at all on those who used drive-thru voting in 2020.

         66.      Table 8 shows the full set of results. Column (1) shows results from data provided by

Professor Mayer for the voting rates of individuals from Calhoun County who voted in 2020 using

the drive-thru option.14 In Column (2), I replicate these findings using data I downloaded from the

Texas Secretary of State website. Results are not identical, but are very similar. For example, Professor

Mayer has a sample of 2,110 voters, 42.4 percent of whom voted in the 2022 primary election, and


14 The voting rate in the 2022 election, as recorded in the data provided to me by Professor Mayer, does not match the

voting numbers reported in Table 8 of Professor Mayer’s report. I believe that the latter are incorrect, and therefore in
Column (1) of Tables 8 and 9 I use the numbers from the data provided to me by Professor Mayer.


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72.6 percent of whom voted in the 2022 general election. By comparison, I have a sample of 2,173

drive-thru voters from 2020, 42.0 percent of whom voted in the 2022 primary, and 72.2 percent of

whom voted in the 2022 general election.15

Table 8: Fraction of 2020 General Election Drive-Thru and Other Early Voters in Calhoun County who
Voted in 2022 Elections
                          2020 Drive- 2020 Drive- 2020 Early 2020 Early        Difference      Difference
                             Thru          Thru     In-Person In-Person between Drive- between Drive-
                             Voters       Voters     Voters,    + Mail-In      Thru and      Thru and Early
                            (Mayer's                excluding    Voters, Other Early In- In-Person +
                             data)                  drive-thru excluding Person Voters Mail-In Voters
                                                                drive-thru
                              (1)           (2)         (3)         (4)      (5) = (2) - (3) (6) = (2) - (4)

2020 General Election                 1              1               1              1                 0                  0

2022 Primary Election              0.424           0.420          0.338           0.325          0.082***            0.095***

2022 General Election              0.726           0.722          0.648           0.629          0.073***            0.093***

# 2020 Voters                      2,110           2,173          2,702           3,414            4,875               5,587

Sample                         Prof. Mayer       TX SoS          TX SoS         TX SoS            TX SoS             TX SoS
Notes: Column (1) reports figures based on the data provided by Professor Mayer. The remaining columns report results based on
data downloaded from the Texas Secretary of State website. *** denotes that the difference is statistically significant at the one
percent level.

         67.       Columns (1) and (2) make clear that not all of those individuals who voted early, via

drive-thru, in 2020 subsequently voted in the 2022 elections. This is likely in part because 2020 was a

presidential election year, while 2022 was a midterm. In addition, turnout in 2020 was idiosyncratically

high even by the standards of presidential election years.




15 I was not able to assess the reasons for the differences. One potential explanation is that I believe that Professor Mayer
obtained data directly from Calhoun County, whereas I used data from the Secretary of State website. Another difference
is that because the Secretary of State records available online do not have residential address, I predicted race using only
surname, along with the 2020 Census. Regardless, as can be seen in the first two columns of Table 8 and Table 9, results
are similar across both data sets. The only difference is in Table 9 for predicted-Black voters, of whom there are less than
30, which means results are sensitive to the inclusion or exclusion of a handful of voters. Finally, if I were provided the
full data directly from Calhoun County, as Professor Mayer was provided, I would be happy to replicate this analysis using
those data.


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         68.       The important question is whether fewer of these drive-thru voters turned out to vote

in 2022 compared to others in Calhoun County who also voted early in the 2020 election. Column

(3) shows results for those who voted early, in-person (excluding drive-thru voting), and column (4)

shows results for those early voters plus those who voted by mail. In both cases, drive-thru voters

from 2020 turned out at higher rates in 2022 than other early voters from Calhoun County. In short,

it turns out that drive-thru voters demonstrated that they are more willing and able than other early

voters from 2020 to vote in subsequent elections, even given the removal of the drive-thru voting

option. This implies there is no evidence that the elimination had an adverse effect on voting.




         69.       Table 9 shows that the same is true for voters predicted to be in the various racial and

ethnic groups.16 In particular, Columns (5) and (6) indicate that predicted-White, predicted non-White,

and predicted-Hispanic drive-thru voters were each more likely than their non-drive-thru early-voting



16 The wru package in the statistical software R was used to predict probabilities of each racial or ethnic group using (only)

surname, based on the 2020 Census. Using the code provided by Professor Mayer, I defined a voter as a certain predicted-
race or ethnicity if the probability of being in that category was greater than 50 percent.


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counterparts to vote in the 2022 primary and general elections. Again, this suggests that there is no

evidence of adverse impact on any predicted-race or predicted-ethnic category.

Table 9: Fraction of 2020 General Election Drive-Thru and Other Early Voters in Calhoun County who Voted in 2022
Primary and General Elections
Race                                  2020 Drive- 2020 Drive- 2020 Early In- 2020 Early In- Difference       Difference
                                      Thru Voters Thru Voters       Person       Person + between Drive-between Drive-
                                     (Mayer's data)                Voters,        Mail-In     Thru and        Thru and
                                                                  excluding       Voters,    Other Early      Early In-
                                                                  drive-thru     excluding    In-Person Person + Mail-
                                                                                 drive-thru     Voters        In Voters
                                           (1)          (2)           (3)            (4)    (5) = (2) - (3) (6) = (2) - (4)

2020 General Election                                1                1                 1                1                 0                  0

2022 Primary Election - All Voters                0.424             0.420            0.338             0.325           0.082***          0.095***
      Predicted White                             0.493             0.482            0.398             0.375           0.084***          0.107***
      Predicted Non-White                         0.286             0.282            0.193             0.209           0.089***          0.073***
      Predicted Black                             0.273             0.407            0.385             0.371             0.023             0.036
      Predicted Hispanic                          0.310             0.298            0.188             0.211           0.110***          0.086***
      Predicted Asian                             0.129             0.134            0.174             0.144            -0.040            -0.010

2022 General Election - All                       0.726             0.722            0.648             0.629           0.073***          0.093***
      Predicted White                             0.777             0.777            0.725             0.689           0.052***          0.088***
      Predicted Non-White                         0.625             0.597            0.471             0.490           0.126***          0.106***
      Predicted Black                             0.593             0.778            0.731             0.714             0.047             0.063
      Predicted Hispanic                          0.659             0.623            0.479             0.501           0.144***          0.123***
      Predicted Asian                             0.385             0.354            0.337             0.342             0.017             0.011

# 2020 Voters w/ predicted race                   2,110             1,981            2,466             3,120                -                 -

Sample                                        Prof. Mayer         TX SoS            TX SoS           TX SoS            TX SoS             TX SoS
Notes: Column (1) reports figures based on the data provided by Professor Mayer The remaining columns report results based on data downloaded
from the Texas Secretary of State website *** denotes that the difference is statistically significant at the one percent level The analysis excludes
individuals predicted to be of "other" race or ethnicity, since only such drive-thru voter in my data



     B. Professor Mayer’s flawed statistical test of disparate impact also mistakenly concludes
        there was disparate impact on Calhoun County 2020 early non-drive-thru voting
        minorities, whose method of voting was unaffected by SB 1

           70.         In addition, the problem with Professor Mayer’s analysis can be demonstrated in

another way. Professor Mayer relies on what is called a Chi-Square statistical test of whether the

participation of minority drive-thru voters in the 2022 elections falls by more than for predicted-White




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drive-thru voters. He concludes, on the basis of this test, that the elimination of drive-thru voting

caused a disproportionate decline in the voter participation of predicted-minority voters.

         71.       Let’s assume, for a moment, that this test is in fact a scientifically valid test of whether

SB 1’s elimination of drive-thru voting caused the larger decline in participation among predicted-

minorities. If that were true, then if we apply the same test to a sample of 2020 Calhoun County

voters who did not even participate in drive-thru voting, the test should give us a different answer.

Formally speaking, we should not be able to reject the null hypothesis.

         72.       The problem is that when I perform the exact same statistical test as Professor Mayer,

except on a sample of voters whose 2020 method of voting was completely unaffected by SB 1, I get

the same result as Professor Mayer reported. In both cases, the test rejects the null hypothesis.17 Yet

it would be wrong to conclude that the elimination of drive-thru voting had a disparate impact, or

even any impact at all, on 2020 voters who did not even use drive-thru voting. As a result, it is clear

that the test Professor Mayer employed is an unreliable test. It is clearly poorly suited for assessing

whether SB 1 caused a disparate impact on minorities.

    C. Classification error rates in predicting race and ethnicity make it difficult to infer any
       differences between voters of actual different races or ethnicities

         73.       As noted in my discussion of Professor Mayer’s disparate impact analyses of Harris

County and Dallas County, Professor Mayer used educated guesses about the race and ethnicity of

voters. Unfortunately, the published, known error rates associated with classifying race and ethnicity

in this way imply that no small step of faith is required to believe that differences in predicted-race

correspond to differences in actual race.




17 For 2022 primary voting, the chi-squared statistic is 56.07, and the associated p-value is less than 0.001. For 2022 general

election voting, the chi-squared statistic is 39.4, with a p-value of less than 0.001. This level of significance is qualitatively
similar, and even somewhat more statistically significant, than that reported by Professor Mayer for 2020 drive-thru voters.


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            74.   While I will not go through the same type of exercise I performed in Tables 6 and 7

   for Harris County and Dallas County, a simple example illustrates the problems associated with

   predicting ethnicity in this way. For example, Table 8 of Professor Mayer’s report indicates there were

   588 drive-thru voters in the 2020 election predicted to be Hispanic. By comparison, there were 1,522

   voters predicted to not be Hispanic. However, Table 8 of Imai, Olivella, and Rosenman (2022)

   indicates the algorithm has an 11.76 percent false negative rate for Hispanics. That suggests that of

   the 1,522 voters predicted to be non-Hispanic, 179 of them actually identify as Hispanic.

            75.   How would the inclusion of those individuals in the correct group (i.e., Hispanics)

   impact the analysis? It is impossible to know. That is because we do not know who they are, and

   therefore we do not know how they voted in the 2022 primary and general elections. This number of

   Hispanics could impact the calculations in a meaningful way, given only 182 predicted-Hispanics voted

   in the 2022 primary, and only 267 predicted-Hispanics voted in the 2022 general election. If all 179

   of these mis-classified Hispanics in fact voted in the subsequent elections, it would mean that

   Professor Mayer significantly understates voting rates by Hispanics, and overstates the voting rates of

   the other groups – namely, Whites.

            76.   As a result, if Professor Mayer or anyone else wishes to speak to racial or ethnic

   disparities, they either need a much more accurate prediction system, or data on actual race and

   ethnicity.



VII.   Conclusion

            77.   Professor Mayer would have you believe that SB 1 provides zero benefit to election

   security. He provides no evidence of this, except for citing the number of prosecuted cases of election

   fraud.   Yet his own academic writings acknowledge the difficulty of detecting election fraud.

   Moreover, Professor Mayer ignores the fact that prosecutions massively undercount other types of



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crime that have clear victims, and are more likely to be detected, reported, and solved. Finally,

Professor Mayer ignores the potential benefit of adopting safeguards such as SB 1 in addressing the

indisputable, widespread belief by many Americans, whether correct or not, that election fraud is a

problem.

        78.    Professor Mayer would also have you believe that out of the 1,991,445 voters who cast

ballots in Dallas, Harris, and Hidalgo counties in the 2022 general election, 2,949 voters were

disenfranchised because their mail-in votes were rejected. Yet there is nothing in Professor Mayer’s

report, or in the underlying data, to suggest that these were legitimate votes. Put simply, Professor

Mayer chooses to (mis)interpret any rejection of mail ballots as evidence of disenfranchisement, even

though the same evidence is equally consistent with a reduction in illegitimate votes counted.

        79.    Professor Mayer would also have you believe that the identification safeguards adopted

by SB 1 caused an increase in mail-in ballot rejections, relative to prior to SB 1. However, I

demonstrate using Professor Mayer’s data that there was also a large increase in ballot rejections that

had nothing to do with the identification requirements of SB 1. This casts serious doubt on the

credibility of the pre-SB 1 ballot rejection numbers, and of comparisons of rejection rates before and

after SB 1.

        80.    Finally, Professor Mayer would have you believe that SB 1 had a disparate adverse

impact against Black and Hispanic voters. Again, his evidence is unconvincing. Professor Mayer has

no data on whether a voter is Black or Hispanic. Rather, he is using educated guesses based on

surname and residential neighborhood. I demonstrate that the documented classification error

inherent in these educated guesses makes it difficult to conclude anything with certainty regarding

differences across actual race or ethnicity. Moreover, I demonstrate that Professor Mayer computed

disparate impact of SB 1’s mail-in voting safeguards incorrectly in Harris County and Dallas County.

The correct approach results in the opposite conclusion of disparate impact against predicted-Whites



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in favor of predicted-Hispanics, and no evidence at all of disparate impact against predicted-Asians.

Similarly, I show there is no evidence of any adverse impact of the elimination of drive-thru voting in

Calhoun County, either in the aggregate or for predicted-minorities. In addition, I show that

implementing Professor Mayer’s flawed statistical test in Calhoun County yields a conclusion of

disparate impact on 2020 voters who did not even use the drive-thru voting option. This provides

further evidence of the unreliability of Professor Mayer’s approach to assessing disparate impact.



Respectfully Submitted,




Mark Hoekstra, PhD




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                                       CURRICULUM VITAE

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Academic Appointments

2018 – Present           Professor of Economics
2015 – Present           Private Enterprise Research Center Rex B. Grey Professor of Economics, Texas
                         A&M University
2011 – 2018              Associate Professor of Economics, Texas A&M University
2006 – 2011              Assistant Professor of Economics, University of Pittsburgh

Research Appointments

2015 – Present           Research Associate, National Bureau of Economic Research
2013 – Present           Research Fellow, IZA
2011 – 2015              Faculty Research Fellow, National Bureau of Economic Research

Editorial Positions

2018 – Present           Associate Editor, Journal of Labor Economics
2015 – Present           Associate Editor, Journal of Human Resources

Education

Ph.D. Economics, University of Florida, August 2006
      Dissertation Advisor: David Figlio

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Research Interests

Applied Microeconomics, including Labor Economics, Law and Economics, and the Economics of
Education

Publications

“The Effect of Open-Air Waste Burning on Infant Health: Evidence from Government Failure in
Lebanon” (with Pierre Mouganie and Ruba Ajeeb), forthcoming in Journal of Human Resources

“The Effect of School and Neighborhood Peers on Achievement, Misbehavior, and Adult Crime” (with
Stephen B. Billings), forthcoming in Journal of Labor Economics

“Does Race Matter for Police Use of Force? Evidence from 911 Calls” (with CarlyWill Sloan), American
Economic Review 2022, 112(3): 827-860.

“The Effect of Own-Gender Jurors on Conviction Rates” (with Brittany Street), Journal of Law and Economics
2021, 64(3): 513-537.
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205: 1-3.

“The Impact of College Diversity on Behavior Toward Minorities” (with Scott E. Carrell and James West),
American Economic Journal: Economic Policy 2019, 11(4): 159-182.

“The Long-Run Effects of Disruptive Peers” (with Elira Kuka and Scott E. Carrell), American Economic
Review 2018, 108(11): 3377-3415.

“Peer Quality and the Academic Benefits to Attending Better Schools (with Pierre Mouganie and Yaojing
Wang), Journal of Labor Economics 2018, 36(4): 841-884.

“Cash for Corollas: When Stimulus Reduces Spending” (with Steven L. Puller and Jeremy West), American
Economic Journal: Applied Economics 2017, 9(3): 1 – 35.

“Illegal Immigration, State Law, and Deterrence” (with Sandra Orozco-Aleman), American Economic Journal:
Economic Policy 2017, 9(2): 228-252.

“Vehicle Miles (Not) Traveled: Why Fuel Economy Requirements Don’t Increase Household Driving”
(with Jeremy West, Jonathan Meer, and Steven L. Puller), Journal of Public Economics 2017, 145: 65-81.

“Are School Counselors an Effective Education Input?” (with Scott E. Carrell), Economics Letters 2014,
125(1): 66-69.

“Bank Privatization, Finance, and Growth” (with Daniel Berkowitz and Koen Schoors), Journal of
Development Economics 2014, 110: 93-106.

“Does Strengthening Self-Defense Law Deter Crime or Escalate Violence? Evidence from Expansions to
Castle Doctrine (with Cheng Cheng) Journal of Human Resources 2013, 48(3): 821-854.

“Family Business or Social Problem? The Cost of Unreported Domestic Violence” (with Scott E. Carrell)
Journal of Policy Analysis & Management 2012, 31(4): 861-875.

“Is Poor Fitness Contagious? Evidence from Randomly Assigned Friends” (with Scott E. Carrell and James
West) Journal of Public Economics 2011, 95(7-8): 657-663.

“The Ticket to Easy Street? The Financial Consequences of Winning the Lottery” (with Scott Hankins and
Paige Marta Skiba) Review of Economics and Statistics 2011, 93(3): 961-969.

“Does Drinking Impair College Performance? Evidence from a Regression Discontinuity Approach” (with
Scott E. Carrell and James West) Journal of Public Economics 2011, 95 (1-2): 54-62.

“Does High School Quality Matter? Evidence from Admissions Data” (with Daniel Berkowitz)
Economics of Education Review 2011, 30(2): 280-288.

“Lucky in Life, Unlucky in Love? The Effect of Random Income Shocks on Marriage and Divorce” (with
Scott Hankins) Journal of Human Resources 2011, 46(2): 403-426.

“Externalities in the Classroom: How Children Exposed to Domestic Violence Affect Everyone’s Kids”
(with Scott E. Carrell) American Economic Journal: Applied Economics 2010, 2(1): 211-228.

“The Effect of Attending the Flagship State University on Earnings: A Discontinuity-Based Approach”
Review of Economics and Statistics 2009, 91(4): 717-724.
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Other Publications

“Returns to Education Quality”. 2020. In Steve Bradley and Colin Green (Eds.), The Economics of Education:
A Comprehensive Overview, 2nd edition. Edited by Steve Bradley and Colin Green. Elsevier Academic Press.

“Domino Effect” (with Scott E. Carrell).       2009.     Education Next: 9(3).              Available at
http://www.hoover.org/publications/ednext/Domino Effect.html.

Working Papers

“The Scale and Nature of Neighborhood Effects on Children: Evidence from a Danish Social Housing
Experiment” (with Stephen B. Billings and Gabriel Pons Rotger)

“Illegal Immigration: The Trump Effect” (with Sandra Orozco-Aleman)

“When Should We Trust Weighted Least Squares Estimates?” (with Cheng Cheng)

Awards

IZA Young Labor Economist Award, 2012 (with Scott E. Carrell)

Teaching Experience

Texas A&M University:
        Sports Economics, Public Economics I (PhD-level), Econometrics II (1st-year PhD), Labor
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University of Pittsburgh:
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        Organization, and Research Methods in Empirical Microeconomics

University of Florida:
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Department Service

Executive Committee (Fall 2011 – Fall 2014; Fall 2016 – Spring 2017)
Graduate Instruction Committee (Fall 2012 – Spring 2019)
Director of PhD Admissions (Fall 2012 – Spring 2015; Fall 2018 – Spring 2019; Spring 2023)
Director of PhD Program (Fall 2012 – Fall 2014)
Applied Microeconomics Search Committee (2011-12, 2012-13, 2014-15)

Primary Dissertation Advisor (Initial Placement, Current Position)
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   Suhyeon Oh         (expected 2025)
   Maya Mikdash       (expected 2024)
   Adam Bestenbostel (2022, Air Force Academy, non-tenure-track Assistant Professor)
   Meradee Tangvatchaparong (2021, 5-year non-tenure-track Assistant Professor, Hitotsubashi
                      University’s Institute of Economic Research))
   CarlyWill Sloan    (2020, Claremont Graduate University, now at United States Military Academy
   West Point)
   Brittany Street    (2019, University of Missouri)
   Abigail Peralta    (2018, Louisiana State University)
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   Vijetha Koppa      (2016, Stephen F. Austin State University, now at Institute of Management
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                             Technology, Dubai)
   Jillian Carr              (2015, Purdue University)
   Pierre Mouganie           (2015, American University of Beirut, now at Simon Fraser University)
   Gonzalo Sanchez           (2015, Pontificia Universidad Católica de Ecuador)
   Cheng Cheng               (2014, University of Mississippi, now at Amazon)

Presentations

Essen Health Conference (keynote speaker, scheduled May 2023); Clemson University (November 2022); Berlin Applied
Micro Seminar, October 2022; Simon Fraser University, April 2022, Jinan University, October 2021; National University
of Singapore, April 2021; University of Florida, April 2021; ASSA American Economic Association Annual Meeting
(x2), January 2021; San Diego State University, October 2020; Boston University, September 2020; University of
Maryland, September 2020; Notre Dame, September 2020; NBER Summer Institute – Crime, July 2020; Claremont
McKenna College, February 2020; Claremont Graduate University, January 2020; American Economic Association
Annual Conference, January 2020; Southern Economic Association Annual Conference, November 2019; Victoria
University of Wellington Applied Econometrics Workshop, October 2019 (keynote speaker); University of Mississippi,
October 2019; Mississippi State University, October 2019; Stata/Texas Applied Microeconomics Conference, October
2019; University of Florida, May 2019; Georgia Tech, March 2019; West Virginia University, March 2018; University
of Tennessee, January 2018, Purdue University, January 2018; University of Kentucky, October 2017; Annual Meeting of
the Western Economic Association, June 2017; University of Leicester, June 2017; University of Leicester Domestic Violence
Workshop, June 2017; American University of Beirut, March 2017; University of Uppsala, March 2017; Montana State
University, April 2016; American University of Beirut, March 2016; Columbia University, February 2016; Annual
Meeting of the American Economic Association Meeting (January 2016); Annual Meeting of the Southern Economic
Association (November 2015); NBER Education Program Meeting (November 2015); Brigham Young University,
February, 2015; Federal Reserve Bank of New York, February, 2015; Stata/Texas Applied Microeconomics Conference,
November 2014; University of Florida, November, 2014; Louisiana State University, October 2014; Institute for the Study
of Labor (IZA), October 2014; University of Wisconsin-Milwaukee, October 2013; Ghent University, September 2013;
University of Texas – Dallas, April 2013; Stata/Texas Applied Microeconomics Conference, December 2012; Southern
Economic Association Annual Meeting, November 2012; University of Texas-Austin, April 2012; Georgetown Public
Policy Institute, April 2012; University of Missouri, October 2011; Baylor University, August 2011; Texas A&M
University, November 2010; University of Houston, October 2010; University of Pittsburgh School of Medicine, Psychiatry
and Epidemiology Seminar, October 2009; NBER Summer Institute, Law and Economics Program, July 2009; University
of California at Davis, April 2009; University of California at Berkeley Labor Lunch, March 2009; American Economic
Association Annual Meetings, January 2009; Texas A&M University, September 2008; Carnegie Mellon University,
September 2008; NBER Summer Institute, Economics of Education Program, July 2008; Society of Labor Economists
Annual Meeting, May 2008; Vanderbilt University, April 2008; NBER Education Working Group, November 2006

Other Information

Referee: American Economic Journal: Applied Economics, American Economic Journal: Economic Policy, American
Economic Review, American Journal of Health Economics, American Sociological Review, Berkeley Electronic Press,
Contemporary Economic Policy, Economic Development and Cultural Change, Economic Inquiry, Economic Journal,
Economics of Transition, Education Economics, Education Finance and Policy, Empirical Economics, European Journal of
Law & Economics; Journal of Applied Econometrics, Journal of Comparative Economics, Journal of Demographic
Economics, Journal of the European Economic Association, Journal of Health Economics, Journal of Human Resources,
Journal of Labor Economics, Journal of Policy Analysis and Management, Journal of Political Economy, Journal of
Population Economics, Journal of Public Economics, Journal of Sports Economics, Journal of Urban Economics, Labour
Economics, Proceedings of the National Academy of Sciences (PNAS), Quantitative Finance, Quarterly Journal of
Economics, Regional Science and Urban Economics, Review of Economics and the Household, Review of Economics and
Statistics, and Southern Economic Journal.
Reviewer: Israel Science Foundation, National Science Foundation, Marsden Fund (New Zealand), Dutch
Research Council
Citizenship: United States
